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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                 )
    In re:                                                       ) Chapter 11
                                                                 )
    ALEXANDER E. JONES,                                          ) Case No. 22-33553 (CML)
                                                                 )
                             Debtor.                             )
                                                                 )

                     STATEMENT OF THE CONNECTICUT FAMILIES
                 IN SUPPORT OF CONVERSION OF JONES’S CHAPTER 11
             CASE TO A CASE UNDER CHAPTER 7 OF THE BANKRUPTCY CODE

             The Connecticut Families,1 as creditors and parties in interest in the above-captioned case

(the “Jones Case”) proceeding under chapter 11 of the Bankruptcy Code (as defined below),

respectfully submit this statement (the “Statement”) in support of conversion of the Jones Case, as

requested by the Debtor’s Emergency Motion for Entry of an Order Converting Debtor’s Chapter

11 Case to a Case Under Chapter 7 of the Bankruptcy Code (the “Motion”). Upon the Court’s

consideration of the Motion, the Connecticut Families hereby request that any order granting

the Motion be substantially in the form of order attached as Exhibit A to that certain Notice of

Filing of Supporting Parties’ Conversion Order [Docket No. 698] (the “Proposed Order”) rather

than the form attached to the Motion, which the Court should reject for the reasons set forth herein.

                                     PRELIMINARY STATEMENT

             1.     Jones has been in bankruptcy for more than a year and a half, and it is time for

the Jones Case to come to a swift conclusion. After numerous, diligent attempts to reach a

consensual resolution with Jones or otherwise resolve the Jones Case through a creditor-proposed


1
      The “Connecticut Families” are Mark Barden, Jacqueline Barden, Francine Wheeler, David Wheeler, Ian
      Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg, William Sherlach, Carlos M. Soto, Donna Soto,
      Jillian Soto-Marino, Carlee Soto Parisi, Robert Parker, and Erica Ash.
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plan,2 the Connecticut Families determined that an orderly liquidation is the best available path

forward for Jones’s estate and creditors. This is particularly true in light of this Court’s

determination that substantially all of the claims held by the Connecticut Families are

nondischargeable and because of Jones’s pattern of value-destructive behavior both prior to and

during the Jones Case. The Connecticut Families therefore support Jones’s request and believe

that conversion, as opposed to dismissal, is in the best interest of all parties. Specifically,

the Connecticut Families submit that conversion of the Jones Case at this time will facilitate an

organized and efficient liquidation of Jones’s remaining assets and minimize further value

destruction. The Connecticut Families write separately to provide a roadmap for the conversion

process and to request critical protections set forth in the Proposed Order, which the Connecticut

Families believe are necessary to ensure an efficient, orderly, and value-maximizing liquidation.

        2.       In the months leading up to his bankruptcy filing and throughout the pendency of

this case, Jones diverted assets and wasted value that otherwise would be available to his creditors,

including by entering into fraudulent prepetition transactions with members of his family and close

affiliates and continuing to fund his exorbitant lifestyle at a level completely unchanged from his

pre-bankruptcy days. Indeed, despite countless requests from the Supporting Parties, 3 Jones

refused to commence valuable estate claims, adhere to any sort of budget, only recently agreed to

engage in the sale of non-exempt assets, and stalled the progress of the Jones Case at almost every

step.




2
    Creditors’ Non-Uniform Individual Chapter 11 Plan of Liquidation for Alexander E. Jones [Docket No. 679]
    (the “Creditors’ Plan”).
3
    The Connecticut Families, the Texas Families, and the Creditors’ Committee are collectively referred to herein
    as the “Supporting Parties.” The Connecticut Families and the Texas Families are collectively referred to herein
    as the “Sandy Hook Families.”


                                                         2
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        3.      This pattern of reckless conduct has continued with Jones’s recent public threats

and repeated attempts to divert value from the FSS estate over the past weeks. Specifically, and

consistent with prior behavior, on June 1, 2024, Jones launched a series of “emergency broadcasts”

on the Infowars.com platform, during which he called on viewers to physically barricade the FSS

studio in Austin, Texas to prevent FSS’s operations from being liquidated in an orderly fashion.

Jones’s repeated calls for resistance and lack of respect for judicial process are not only concerning,

but they pose a real threat to any chapter 7 trustee’s ability to effectuate a value-maximizing

liquidation of the estate. Moreover, Jones has repeatedly pleaded with his viewers both on his

broadcasts and through his X account (the platform formerly known as Twitter) to purchase

products directly from DrJonesNaturals.com—which he describes as a “separate operation” from

FSS—in order to support Jones and his future operations. Jones’s attempt to divert assets from

the FSS estate, and beyond the reach of his creditors, could not be clearer. In light of the unique

circumstances of this case, the Connecticut Families implore the Court to take certain

precautionary measures in connection with converting the Jones Case to a case under chapter 7 in

order to preserve remaining value.

        4.      The Connecticut Families believe that conversion of the Jones Case to chapter 7

should prioritize and codify three baseline principles that will help to maximize recoveries to

creditors. First, Jones’s creditors should have the opportunity to elect a permanent chapter 7

trustee promptly in order to safeguard assets and prevent further value destruction. Second,

conversion should be followed by the timely transfer of information and assets from Jones and

parties in interest to the chapter 7 trustee to enable the trustee to efficiently pursue valuable claims

and causes of action. Third, any order authorizing conversion of the Jones Case (a “Conversion

Order”) should confirm that certain of Jones’s valuable assets, including his social media accounts,



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constitute property of the estate, which should be within the purview of the chapter 7 trustee

appointed to oversee the liquidation of Jones’s estate and distributions to creditors. Accordingly,

the Connecticut Families respectfully request that the Court enter the Proposed Order, which

contains provisions that will advance these guiding principles.

                                             BACKGROUND

    A. The Sandy Hook Families’ Claims & the Bankruptcy Cases

        5.       In May 2018, the Connecticut Families brought an action in Connecticut state court

against, among others, Alexander E. Jones (“Jones”) and Free Speech Systems LLC (“FSS”),

alleging defamation, intentional infliction of emotional distress, invasion of privacy, and civil

conspiracy. They obtained judgments exceeding $1.4 billion against Jones, FSS, and certain other

defendants in the consolidated litigation captioned Lafferty v. Jones, No. UWY-CV18-6046436-

S, Docket No. 1044 (Conn. Super. Ct. Dec. 22, 2022). The Connecticut Families have never

received one penny from Jones or FSS.

        6.       Also in 2019, the Texas Families4 brought actions in Texas state court against Jones

and FSS.5 Certain of the Texas Families obtained judgments against Jones and FSS in the amount

of $50,043,653.80. See Heslin v. Jones, Case No. D-1-GN-18-001835, in the 261st District Court

of Travis County, Texas. On July 27, 2022, two days before FSS commenced the FSS Case, FSS

made a payment of $1,097,484.57 to the Texas Families in connection with the Heslin v. Jones

case.



4
    The “Texas Families” are Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and the Estate of
    Marcel Fontaine.
5
    See Heslin v. Jones, Case No. D-1-GN-18-001835, in the 261st District Court of Travis County, Texas; Lewis v.
    Jones, Case No. D-1-GN-18-006623, in the 53rd District Court for Travis County, Texas; Pozner v. Jones, Case
    No. D-1-GN-18-001842, in the 345th District Court of Travis County, Texas; Fontaine v. Jones, Case No. D-1-
    GN-18-001605, in the 459th District Court for Travis County, Texas.



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        7.      On July 29, 2022, FSS filed a voluntary petition for relief under chap ter 11 of title

11 of the United States Code (the “Bankruptcy Code”), thereby commencing its bankruptcy case

(the “FSS Case”). The FSS Case is proceeding under subchapter V of chapter 11 of the Bankruptcy

Code, and a subchapter V trustee (the “Subchapter V Trustee”) was appointed pursuant to section

1183 of the Bankruptcy Code in the FSS Case on August 8, 2022. Notice of Appointment of

Subchapter V Trustee [Docket No. 22].

        8.      On December 2, 2022 (the “Petition Date”), Jones also filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code, thereby commencing the Jones Case.

        9.      On December 13, 2022, an official committee of unsecured creditors

(the “Creditors’ Committee”) was appointed in the Jones Case. Notice of Appointment of Official

Committee of Unsecured Creditors [Docket No. 42].

        10.     On March 10, 2023, the Connecticut Families filed adversary complaints in the FSS

Case and the Jones Case to confirm the nondischargeability of the judgments and awards entered

in the underlying Connecticut court proceedings. 6

        11.     On October 19, 2023, the Court held that the vast majority of the Connecticut

Families’ claims against Jones—approximately $1.115 billion—were nondischargeable pursuant

to section 523(a)(6) of the Bankruptcy Code in the Jones Case.7

        12.     Following months of both informal and formal negotiations, 8 on March 26, 2024,

the Court entered an order appointing Judge Edward L. Morris to serve as mediator and directing


6
    See Adversary Complaint Seeking Judgment that Sandy Hook Judgment is Non-Dischargeable Under Bankruptcy
    Code § 523(a), Wheeler v. Jones, No. 23-03037-CML, dated March 10, 2023 [Docket No. 1]; Adversary
    Complaint Seeking Judgment that Sandy Hook Judgment is Non-Dischargeable Under Bankruptcy Code § 523(a),
    Wheeler v. Jones, No. 23-03036-CML, dated March 10, 2023 [Docket No. 1].
7
    See Memorandum Decision on Connecticut Plaintiffs’ Motion for Summary Judgment Against Jones, dated
    October 19, 2023 [Adv. Pro. No. 23-03037, Docket No. 76].
8
    On October 12, 2022, the Court entered the Stipulation and Agreed Order [FSS Docket No. 233] ordering all
    parties in the Jones Case and FSS Case to mediation before the Honorable Marvin Isgur. This mediation was

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certain parties to participate in an in-person mediation session. Order Appointing Mediator

[Docket No. 644]. As a final attempt to reach a global consensus around the terms of a plan of

reorganization, the Connecticut Families, the Texas Families, and the Creditors’ Committee each

participated in good faith in a two-day mediation session in Fort Worth, Texas commencing on

April 17, 2024. Unfortunately, the mediation session concluded without a consensus, and on April

22, 2024, the Court formally terminated the mediation.

    B. Jones’s Historical Conduct and Recent Actions in Anticipation of Conversion

        13.      Commencing immediately upon its formation, the Creditors’ Committee undertook

an extensive investigation into Jones’s financial affairs, analyzing Jones’s financial statements and

prepetition transactions to identify and assess the value of potential causes of action belonging to

the Jones estate. Specifically, the investigation (i) was designed to determine the magnitude of

value recoverable from Jones, through litigation or otherwise, for the benefit of creditors, and

(ii) involved the evaluation of claims and causes of action concerning Jones and his numerous

prepetition transfers, including determination of whether such transfers were fraudulent

conveyances, the value recoverable from third parties in respect of such transfers, the ability of the

fraudulent transfer recipients to satisfy any judgment against them, and the likelihood of

successfully collecting upon any such judgments.

        14.      From the outset of the Jones Case, Jones claimed not to have many pertinent

documents and professed ignorance about numerous matters pertaining to his businesses, personal

finances, trusts, assets, and personal and professional affairs. The Creditors’ Committee, therefore,

determined that it was necessary to seek discovery from a wide array of third parties, including




    unsuccessful, and at a status conference on April 22, 2024, the Court terminated mediation. See Transcript of
    April 22, 2024 Hearing 8:22-25.


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Jones’s family members, associated businesses, trustees, financial institutions, and others to fill in

significant information gaps. To this end, the Creditors’ Committee reviewed over 60,000 pages

of documents produced in response to document requests and subpoenas issued to more than thirty

parties. Additionally, the Creditors’ Committee conducted several depositions and other informal

interviews of parties in interest and made numerous document requests.

        15.     Based on the discovery obtained to date, the Creditors’ Committee reached several

important conclusions concerning viable estate causes of action to recover value fraudulently

transferred out of Jones’s estate. Specifically, among other estate causes of action, the Creditors’

Committee identified viable and material claims to avoid (a) the fraudulent incurrence of purported

obligations to Jones’s wife, Erika Jones, including a purported obligation to provide payments to

Erika Jones under a prenuptial agreement, (b) preferential and fraudulent transfers made to Erika

Jones, including almost $2 million in cash and two vehicles, (c) fraudulent transfers of real

property to Jones’s father, Dr. Jones, (d) fraudulent and preferential transfers to Dr. Jones,

including approximately $0.5 million in cash and at least three vehicles, (e) various tort, breach of

trust, breach of contract, conspiracy, and other claims against Dr. Jones, and (f) fraudulent (or non-

existent) transfers of several condominiums located in Austin, Texas and payments on account of

such condominiums to trusts controlled by Jones and his father. 9 The Creditors’ Committee has

also discovered substantial grounds to challenge Jones’s purported homestead exemption.

        16.     Jones’s problematic asset transfers continued throughout the Jones Case. For

example, on March 24, 2023, without notice to the Creditors’ Committee, Jones and FSS disclosed


9
    These claims and causes of action are discussed in more detail in the Specific Disclosure Statement for the
    Creditors’ Non-Uniform Individual Chapter 11 Plan of Liquidation for Alexander E. Jones [Docket No. 587]
    (the “Creditors’ Disclosure Statement”). The Creditors’ Disclosure Statement also describes other valuable
    causes of action, including avoidance action claims against Jonathan Owen Shroyer, Rex Jones, Patrick Riley,
    and the Alexander E. Jones Descendent and Beneficiary Trust, David Jones, Trustee. See Creditors’ Disclosure
    Statements at 16–17.


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to the Court for the first time that an FSS employee had been siphoning money away from the Jones

and FSS estates for at least eight months through the formation of an entity known as Mountain

Way Marketing LLC (“Mountain Way”).10 By the time Jones and FSS finally brought this to

the Court’s and Creditors’ Committee’s attention, Mountain Way had received $243,742.09, only

$157,272.76 of which had made its way to Jones’s estate. Id.11 In connection with these

disclosures, the Court acknowledged that it was “troubled by what [it] saw now” and “hope[d] it’s

not a pattern.” 12 Unfortunately, this scheme was neither the beginning nor end of a pattern, but

rather one instance among many of Jones and FSS improperly shielding assets from their creditors.

         17.     Despite numerous letters to Jones’s counsel describing the circumstances of

avoidable transfers and demanding that Jones commence litigation to recover such value for the

benefit of Jones’s estate—and despite Jones’s duty to maximize creditor recovery—Jones made

clear that he had no intention of pursuing any of the identified causes of action.

         18.     Jones similarly refused to adhere to any reasonable budget despite repeated urging

by the Creditors’ Committee and the Sandy Hook Families throughout the Jones Case. From

December 2022 through February 2024, Jones spent more than $1.2 million on personal and living

expenses (excluding professional fees)—an average of $82,000 per month. 13

         19.     Recently, in anticipation of the conversion of the Jones and FSS Cases, and in

further contravention of his obligations to creditors, Jones doubled-down on this value-destructive

behavior. Specifically, on June 1, 2024, following PQPR’s refusal to further extend the FSS cash


10
     Disclosure to the Court [FSS Docket No. 534] ¶ 2; Disclosure to the Court [Docket No 228] ¶ 2.
11
     Again, without discussing with the Creditors’ Committee, Jones further committed to pay FSS from his debtor-
     in-possession account the $157,272.76 he received from Mountain Way. See Statement and Reservation of Rights
     by the Official Committee of Unsecured Creditors of Alexander E. Jones Regarding the Disclosure to the Court
     [Docket No. 227] ¶¶ 1–2.
12
     March 27, 2023 Hr’g Tr. 17:1–9.
13
     Docket Nos. 123, 172, 173, 256, 257, 258, 261, 299, 337, 381, 392, 446, 467, 495, 528, 564, 606, and 636.


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collateral order in the FSS Case,14 Jones released an “Alex Jones Emergency Broadcast” on

the Infowars.com website, during which he accused the “Deep State” of attempting to shut down

FSS overnight, and called upon his followers to physically surround FSS’s Austin, Texas studio

to prevent any such closure.             Breaking: Deep State Attempted to Shut Down Infowars

Headquarters Last Night, June 2, 2024, https://www.infowars.com/posts/breaking-deep-

stateattempted-to-shut-down-infowars-headquarters-last-night/ (the “June Episode No. 1”).

The June Episode No. 1 has been followed by a number of additional episodes published either on

Infowars.com or Jones’s X account (collectively with the June Episode No. 1, the “June Episodes”)

that address the Jones and FSS Cases. During the June Episodes, Jones has, among other things,

repeatedly attacked FSS’s chief restructuring officer (the “CRO”) and the Sandy Hook Families

(calling out by name at least one member of the Connecticut Families and certain attorneys

representing the Sandy Hook Families), mischaracterized statements made by this Court with

respect to the Jones Case and the FSS Case, threatened to barricade the FSS studio if FSS is

liquidated, and implied that he will seek to defy any future collection efforts of creditors.

         20.      Throughout the June Episodes, Jones has also pleaded with his viewers to purchase

products directly from DrJonesNaturals.com (which is not an asset of the FSS or Jones estate, but

carries a variety of InfoWars branded inventory), as opposed to the Infowars.com store, in order

to “support” Jones and his father. 15 Jones has described DrJonesNaturals.com as the “future” of



14
     PQPR Holdings Limited, LLC (“PQPR”), which is the purported secured creditor party to the cash collateral
     order, is indirectly owned by Jones and his parents.
15
     The schedules and statements filed in the Jones Case recorded ownership of Infowars intellectual property by
     the 2022 Litigation Settlement Trust, which is part of the Jones estate. See “Global Notes and Supporting
     Information Regarding Second Amended Schedules of Assets and Liabilities and Statement of Financial Affairs”
     at 7–8, 11 [Docket No. 242]. In addition, the schedules and statements filed in the FSS Case recorded ownership
     of the “Infowars” and “Infowars Life” wordmarks by FSS. See “Global Notes and Statement of Limitations,
     Methodology, and Disclaimer Regarding Debtor’s Amended Schedules and Statements” at 15 [FSS Docket
     No. 900].


                                                         9
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Jones’s operations, and as an entity that is separate from, and beyond the reach of, FSS’s creditors.

Specifically, on June 1, 2024, Jones stated as follows with respect to DrJonesNaturals.com:

                I’ll tell you Infowars is overrun. . . . It’s done. We’re overtaken.
                Maybe we fix it. I’ll tell you day one, it’s happened. It’s gone.
                [W]e’re overrun, enemies all over us. My dad said two years ago,
                he’s smarter than I am. He said, you’re going to be shut down. I’m
                starting this thing, DrJonesNaturals.com, as our sponsor to the next
                level. We don’t even need much money. We’ve already got
                emergency stuff backed up. We’re going to continue on no matter
                what happens here. But I need anyone that cares about what we’re
                doing. I can’t even believe how epic this is. Like it’s a no brainer.

Is This Infowars’ Last Broadcast? Patriots Rally Behind Alex Jones and Crew, June 2, 2024,

https://www.infowars.com/posts/is-this-infowars-last-broadcast-patriots-rally-behind-alex-

jonesand-crew/ (the “June Episode No. 2”) (emphasis added).

        21.     Throughout the June Episodes, Jones has actively and repeatedly encouraged his

followers to stop buying products from Infowars.com.                    See June Episode No. 1

(“DrJonesNaturals.com . . . The products are amazing . . . not saying Infowarsstore.com isn’t

great, but that’s that. That’s overrun.”); Id. (“I’ve told listeners, hey, Infowars is not the big thing

to support right now.”); see also Infowars on the Edge: Alex Jones Gives A Bankruptcy Update,

June 7, 2024, https://banned.video/watch?id=6663999921cd0ceea6e5713c (“Thank you so much

for your past support, and I’m encouraging you now to go to DrJonesNaturals.com. It’s critical to

keeping my broadcast on the air, plus they’re amazing products.”) (the “June Episode No. 3”);

Ahead of Shutdown, Alex Jones Gives Historic Tour of Infowars Studios (the Central Texas

Command Center), June 10, 2024, https://www.infowars.com/posts/ahead-of-shutdown-alex-

jones-gives-historic-tour-of-infowars-studios-the-central-texas-command-center/ (“So if you want

to support what I’m doing into the future, my dad’s company DrJonesNaturals.com has incredible

products and supplements. A lot of the products you can’t get at Infowars anymore are there and



                                                  10
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other ones you can’t get will be there.”). Moreover, he emphasizes that this urging is because

DrJonesNaturals.com is a “separate operation.” See June Episode No. 1 (“I’m saying go to

DrJonesNaturals.com. That’s a separate company, is separate operation. That’s what you should

be supporting.”); Id. (“But it is critical if you want to support us to support my one sponsor that’s

separate from this operation, DrJonesNaturals.com.”). Over the course of two episodes published

on June 1, 2024 alone, Jones promoted DrJonesNaturals.com fourteen (14) separate times.

       22.     In the wake of Jones’s recent statements, the Connecticut Families filed

the Emergency Motion of the Connecticut Families for and Order Pursuant to Bankruptcy Code

Sections 105(a) and 1112(b) Converting the Debtor’s Chapter 11 Case to a Case Under Chapter

7 of the Bankruptcy Code [FSS Docket No. 921] (the “FSS Conversion Motion”) on June 2, 2024.

Since the filing of the FSS Conversion Motion, Jones has continued to make false and misleading

statements regarding the Connecticut Families, this Court, and the Jones and FSS Cases, and has

continued to promote DrJonesNaturals.com across his platforms.

       23.     On June 11, 2024, FSS filed an emergency motion in the FSS Case [FSS Docket

No. 933] (the “FSS Emergency Motion”) indicating its support, acting through the CRO of FSS,

of conversion rather than dismissal of the FSS Case.

                                          STATEMENT

       24.     While the Connecticut Families firmly believe conversion is warranted and is in the

best interests of Jones’s estate and all creditors, by the Proposed Order, the Connecticut Families,

together with the Supporting Parties, request the inclusion of certain provisions that would ensure

an efficient and orderly wind down of Jones’s estate in a manner that ensures the preservation of

valuable estate assets and maximizes creditor recoveries. As explained herein, the Connecticut

Families believe these protections are even more critical in light of Jones’s historical and recent

behavior, including the June Episodes.

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              25.      Three central tenants underlie the requested provisions. The Connecticut Families

submit that any Conversion Order should: (i) ensure the prompt election of a chapter 7 trustee to

safeguard assets for the benefit of the estate; (ii) facilitate a chapter 7 trustee’s ability to pursue

estate claims and causes of action efficiently and effectively; and (iii) clarify that certain assets,

particularly Jones’s social media accounts, constitute property of the estate.

     I.       The Conversion Order Should Facilitate the Prompt and Efficient Election of a
              Chapter 7 Trustee.

              26.      First, the Connecticut Families believe it is imperative that a permanent chapter 7

trustee be appointed as quickly as possible upon conversion of the Jones Case to prevent further

value destruction. Jones’s erratic behavior over the past weeks, including his public statements

made in the June Episodes, is highly concerning to the Connecticut Families. Specifically, Jones’s

flagrant and repeated attempts to funnel property of the FSS estate to an unaffiliated entity owned

by his father—while using the Infowars brand name and infrastructure to do so—is intentionally

value destructive.16 Jones’s attempt to harm FSS and transition his loyal audience away from FSS

products could not be more transparent, and his calls to physically barricade the FSS studios and

“attack to the last minute” further indicate that he has no intention of cooperating with any

Conversion Order entered by this Court. See June Episode No. 3 (“I’m just ramming ammunition

and going to the last minute. We attack to the last minute.”). As discussed herein, prior to filing

for bankruptcy, Jones also engaged in numerous other transactions designed to transfer assets out

of the estate and away from creditors, which a chapter 7 trustee will be authorized to avoid and

recover.



16
          For the avoidance of doubt, the Connecticut Families dispute that DrJonesNaturals.com is unaffiliated with the
          Jones and FSS estates and believe that creditors, the chapter 7 trustee, and other parties in interest possess
          significant and valuable claims against the entity doing business as DrJonesNaturals.com and any other party that
          is aiding in this clear violation of Jones’s fiduciary duties (among other viable claims).


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        27.     In light of Jones’s pattern of concerning conduct and his recent remarks,

the Connecticut Families believe that any gap in time between entry of a Conversion Order and

appointment of a permanent chapter 7 trustee poses a material risk of continued value destruction

by way of the further siphoning of value out of FSS, the largest asset of the Jones estate , or

otherwise.

        28.     These concerns are heightened by Jones’s opposition to the FSS Conversion

Motion and the FSS Emergency Motion, in which he baldly asserts that a chapter 7 trustee of

the Jones estate would not have authority to manage and control FSS. See Jones’ Response and

Objection to Debtor’s Emergency Motion for Court Instructions and Motion to Convert, June 12,

2024 [Docket No. 943]. Upon conversion of the Jones Case to chapter 7, Jones will have no

remaining interests in FSS—a non-exempt asset—yet, Jones seeks to retain managerial control

over FSS. Jones accuses FSS of attempting to “prematurely tee up the issue of post-dismissal

management authority over FSS,” and that he has proposed controls “to avoid any angst over

[Jones] resuming control he had pre-petition.” Id. at ¶¶ 7–8. Incredibly, Jones claims he wants to

preserve control to promote the “best interests of its creditors,” yet he has spent the last few weeks

actively encouraging his audience not to purchase products from FSS.

        29.     The Connecticut Families therefore request that (a) a meeting of creditors pursuant

to section 341 of the Bankruptcy Code (the “341 Meeting”) be held as soon as practicable upon

entry of any Conversion Order, whereupon a permanent chapter 7 trustee will be appointed in

accordance with section 702 of the Bankruptcy Code, and (b) notwithstanding entry of any

Conversion Order, any interim chapter 7 trustee appointed by the Office of the United States

Trustee shall not be entitled to retain professionals, settle any claim or cause of action, or otherwise

utilize, transfer, or dispose of any material asset of the chapter 7 estate before the election of a



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permanent chapter 7 trustee without the prior written consent of the Connecticut Families and

Texas Families. The Sandy Hook Families intend to elect a permanent chapter 7 trustee at the 341

Meeting and have already begun interviewing candidates. The Connecticut Families submit that

such measures will facilitate a seamless transition to chapter 7 and best preserve the estate’s assets

for the benefit of creditors.

         30.   Finally, should the Court grant the FSS Conversion Motion and convert the FSS

Case to a case under chapter 7 of the Bankruptcy Code—as the Connecticut Families urge

the Court to do—the Connecticut Families submit that the same interim trustee should be

appointed to administer both the Jones and FSS chapter 7 cases, and the Sandy Hook Families

should be permitted to elect the same permanent chapter 7 trustee in both cases in accordance with

section 702 of the Bankruptcy Code. A single chapter 7 trustee would promote judicial efficiency

and save estate resources given the substantial overlapping issues (and creditors) between the two

cases.

II.      The Conversion Order Should Facilitate the Chapter 7 Trustee’s Prompt Pursuit of
         Estate Causes of Action.

         31.   To further maximize estate assets, the Connecticut Families also believe it is

paramount that the chapter 7 trustee is able to make full use of the investigative work completed

by the Creditors’ Committee in the Jones Case. As discussed above and in further detail in the

Creditors’ Disclosure Statement, the Creditors’ Committee has conducted a comprehensive,

year-long investigation to identify valuable claims and causes of action possessed by the Jones

estate. See Creditors’ Disclosure Statement at 10 et seq. This considerable effort and valuable

work for the benefit of creditors should not go to waste.

         32.   The Connecticut Families believe it is in the best interest of creditors to facilitate a

streamlined transfer, without burdensome restrictions, of documents and information from


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the Creditors’ Committee and all parties in interest to the chapter 7 trustee with respect to p otential

claims and causes of action in order to minimize potentially costly and duplicative efforts.

Accordingly, any Conversion Order should explicitly: (a) permit the Creditors’ Committee to share

all documents received in the Jones Case, regardless of source or confidentiality restrictions, with

the chapter 7 trustee, subject to appropriate sealing and redaction in connection with publicly filed

pleadings; (b) specify that the Creditors’ Committee shall remain in existence following

conversion for purposes of , among other things, sharing information with, and assisting, the

chapter 7 trustee in its pursuit of causes of action as requested; and (c) provide that all privileges

related to any estate claims or causes of action currently belonging to Jones transfer to the chapter

7 trustee. The Connecticut Families believe that these mechanics will avoid any duplication of

effort and ensure that the chapter 7 trustee is best positioned to pursue any viable claims and causes

of action for benefit of all creditors. The Connecticut Families also submit that—while not

required for the Supporting Parties or the chapter 7 trustee to pursue these claims—any Conversion

Order should provide, for the avoidance of all doubt, that claims against DrJonesNaturals.com and

any individuals or entities associated with DrJonesNaturals.com are preserved.

III.   The Conversion Order Should Clarify that Certain Assets Are Property of the Estate.

       33.     It is also critical that any Conversion Order clarify that all assets and interests in

property belonging to the Debtor as of the conversion date, other than exempt assets, constitute

property of Jones’s chapter 7 estate. Notably, as the June Episodes have made abundantly clear,

Jones’s social media accounts are a key vehicle through which Jones promotes sales and markets

his businesses and, most recently, encourages Jones’s audience to stop purchasing products from

FSS or Jones and instead begin purchasing products from Jones’s father at DrJonesNaturals.com.

Jones’s X.com profile has over 2.3 million followers and is primarily used to promote his InfoWars

businesses—and now, DrJonesNaturals.com. Social media accounts with millions of followers

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are a valuable non-exempt asset that a chapter 7 trustee could attempt to monetize, no different

than a customer list of any other liquidating business. Accordingly, the Conversion Order should

provide that Jones’s social media accounts, including without limitation his X account (the

platform formerly known as Twitter), constitute property of the Jones estate or FSS estate. See In

re CTLI, 528 B.R. 359, 366–68 (Bankr. S.D. Tx. 2015) (holding that business social media

accounts constitute property of the estate, even where those accounts were also used for “personal”

purposes); In re Vital Pharmaceutical, 652 B.R. 392 (Bankr. S.D. Fla. 2023) (finding that social

media accounts are property of the estate).

                                            NOTICE

       34.     Notice of this Statement will be served on any party entitled to notice pursuant to

Bankruptcy Rule 2002 and any other party entitled to notice pursuant to rule 9013 -1(d) of the

Bankruptcy Local Rules for the Southern District of Texas.

                                RESERVATION OF RIGHTS

       35.     For the avoidance of doubt, the Connecticut Families reserve their rights to amend

or supplement this Statement on any basis and reserve all rights and remedies with respect to the

Motion and otherwise in the Jones Case.

                                        CONCLUSION

       WHEREFORE, the Connecticut Families requests that this Court enter the Proposed Order

converting the Jones Case to a case under chapter 7 and granting such other relief as may be

appropriate under the circumstances.




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Dated: June 12, 2024                 Respectfully submitted,


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                                         Co-Counsel to the Connecticut Families
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Statement has been served on
Jones’s counsel, Jones, and all parties receiving or entitled to notice through CM/ECF on this 12th
day of June, 2024.

                                                     /s/ Ryan E. Chapple
                                                     Ryan E. Chapple
